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                       4
                           Attorneys for Defendants
                       5   COUNTY OF SAN DIEGO, (Also
                           erroneously sued herein as SAN DIEGO
                       6   COUNTY SHERIFF’S DEPARTMENT, and
                           SAN DIEGO COUNTY PROBATION
                       7   DEPARTMENT)
                       8
                                                         UNITED STATES DISTRICT COURT
                       9
                                                       SOUTHERN DISTRICT OF CALIFORNIA
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                      11
                           DARRYL DUNSMORE, ERNEST                          Case No. 3:20-cv-00406-AJB-WVG
                      12   ARCHULETA, ANTHONY
                           EDWARDS, REANNA LEVY,                            DEFENDANTS’ EX PARTE
                      13   JOSUE LOPEZ, CHRISTOPHER                         APPLICATION FOR AN ORDER
                           NELSON, CHRISTOPHER                              EXTENDING BRIEFING
                      14   NORWOOD, and LAURA                               SCHEDULE ON MOTIONS FOR
                           ZOERNER, on behalf of themselves                 PRELIMINARY INJUNCTION AND
                      15   and all others similarly situated,               PROVISIONAL CLASS
                                                                            CERTIFICATION; DECLARATION
                      16                           Plaintiffs,              OF SUSAN E. COLEMAN IN
                                                                            SUPPORT THEREOF
                      17   v.
                                                                            (Declaration of Susan E. Coleman filed
                      18   SAN DIEGO COUNTY SHERIFF’S                       concurrently herewith)
                           DEPARTMENT, COUNTY OF
                      19   SAN DIEGO, CORRECTIONAL                          Date:           June 16, 2022
                           HEALTHCARE PARTNERS, INC.,                       Time:           2:00 p.m.
                      20   TRI-CITY MEDICAL CENTER,                         Courtroom:      4A
                           LIBERTY HEALTHCARE, INC.,
                      21   MID-AMERICA HEALTH, INC.,                        Judge: Hon. Anthony J. Battaglia
                           LOGAN HAAK, M.D., INC., SAN
                      22   DIEGO COUNTY PROBATION
                           DEPARTMENT, and DOES 1 to 20,
                      23   inclusive,
                      24                           Defendants.
                      25
                      26            Defendants COUNTY OF SAN DIEGO (also erroneously sued herein as
                      27   SAN DIEGO COUNTY SHERIFF’S DEPARTMENT and SAN DIEGO COUNTY
                      28   PROBATION DEPARTMENT), as more fully set forth in the accompanying
B URKE , W ILLI AM S &                                                                            3:20-CV-00406-AJB-WVG
   S ORENS EN , LLP        SD #4890-4939-3694 v1                           -1-               EPA FOR ORDER EXTENDING
  ATTO RNEY S AT LAW
     LOS A NG EL ES                                                                                  BREFING SCHEDULE
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                       1   declaration of Susan E. Coleman, respectfully requests that this Court extend the
                       2   briefing schedule regarding Plaintiffs’ Motion for Preliminary Injunction and
                       3   provisional class certification (Dkt 119), by 30 days, continuing the Opposition
                       4   deadline from May 16, 2022, to June 15, 2022, for good cause shown. (See
                       5   Coleman Decl.)
                       6            On May 2, 2022, Plaintiffs filed a voluminous motion for preliminary
                       7   injunction and provisional class certification (Dkt 119). The Court thereafter issued
                       8   an order setting the hearing for June 16, 2022, at 2:00 p.m. and the briefing
                       9   schedule as follows: the responses due by May 16, 2022, and replies due by May
                      10   23, 2022 (Dkt 124).
                      11            After meeting and conferring with Counsel, Plaintiffs’ counsel would not
                      12   agree to stipulate to any extension of time to file an Opposition brief and supporting
                      13   papers unless the County agreed to certification of a class of all jail arrestees and
                      14   prisoners. (Coleman Decl. ¶ 5.) While all counsel agreed to additional pages for
                      15   Plaintiffs’ Motion for Preliminary Injunction, and the responsive papers to same, it
                      16   was never disclosed by Plaintiffs’ counsel that they would also be moving for
                      17   provisional certification or that they would be filing nearly 2,000 pages in support
                      18   of their motion including declarations and exhibits from numerous experts, former
                      19   staff, prisoners, and counsel. The extent of the brief - and the broad relief requested
                      20   – was never disclosed. The Southern District Local Rules do not require the parties
                      21   to meet and confer; however, if Defendants’ counsel had some warning of the size
                      22   and type of motion Plaintiffs intended to file, they would have sought to negotiate
                      23   additional time to respond when Plaintiff’s counsel sought extra pages for their
                      24   motion. (Id. ¶ 6.)
                      25            The current deadline of May 16, 2022 date is not feasible for Defendant
                      26   County to file its Opposition papers given the sheer volume of materials and topics
                      27   to address. Plaintiffs’ motion with exhibits exceeds 1500 pages (without counting
                      28   the medical records filed under seal and those accompanying pleadings). This
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                       1   includes 4 lengthy expert declarations with exhibits (Austin – 49 pages; Stewart –
                       2   70 pages; Cohen – 31 pages; and Sanossian – 5e pages), 2 declarations from former
                       3   jail health care workers (referred to as whistleblowers) – Alonso (22 pages) and
                       4   Evans (17 pages), and 23 inmate declarations with specific allegations and exhibits
                       5   in support. In addition to Plaintiffs’ 45 page Motion for Preliminary Injunction,
                       6   they also filed a Request for Judicial Notice, Declaration of counsel Van
                       7   Swearingen (1055 pages), a Motion to file documents under seal, and a detailed
                       8   proposed order granting the relief sought. (Id. ¶ 7.)
                       9            Defense counsel needs time to review Plaintiffs’ motion and supporting
                      10   evidence with a fine tooth comb, and to conduct an investigation to compile
                      11   exhibits and declarations in opposition to the motion. Plaintiffs attack an enormous
                      12   swath of issues within the County’s jail system including but not limited to medical
                      13   care, mental health care, dental care, conditions of confinement, safety of inmates
                      14   (safety checks, housing assignments, racial tensions), access to courts, disability
                      15   accommodations, access to programming, use of force, maintenance issues (call
                      16   buttons, toilets), issues with video surveillance, body scanners, prevention and
                      17   treatment of drug use and overdoses, and many other issues. (Id. ¶ 8.)
                      18            It will take time in order to retrieve and compile documents such as policies,
                      19   maintenance records, logs medical reports, incident reports, photos and video, to
                      20   respond to Plaintiffs’ allegations. With this evidence, we also need to prepare
                      21   authenticating declarations, coordinate with experts to review evidence and provide
                      22   declarations, and draft declarations of staff explaining policy and practice and
                      23   otherwise responding to Plaintiffs’ wide-ranging allegations. (Id. ¶ 9.)
                      24            It is clear from the moving papers and declarations/exhibits, as well as from
                      25   communications with Plaintiffs’ counsel, that they have been investigating the
                      26   County jails and speaking to staff and inmates and collecting evidence over at least
                      27   the last year if not longer. Given the amount of time Plaintiffs had to prepare their
                      28   moving papers, the extension sought by Defendant County is modest. (Id. ¶ 10.)
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                       1            For the above reasons, Defendant requests a 30-day extension of time for
                       2   Defendant County (and any other Defendants) to file their Opposition Brief and
                       3   supporting exhibits, from May 16, 2022, to June 15, 2022. If this Court is not
                       4   amenable to a 30-day extension, in the alternative Defendant seeks as much
                       5   additional time as the Court is willing to provide (whether that is 2 or 3 weeks or
                       6   some other amount of time).
                       7
                           Dated: May 4, 2022                        BURKE, WILLIAMS & SORENSEN, LLP
                       8
                       9
                                                                     By: /s/ Susan E. Coleman
                      10                                                  Susan E. Coleman
                      11                                             Attorneys for Defendants
                                                                     COUNTY OF SAN DIEGO
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